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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No.: 8:22-cv-01805-FWS-ADS                                    Date: November 21, 2022
Title: Mark McDonald et al. v. Kristina D. Lawson et al.

Present: HONORABLE FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

       Melissa H. Kunig                                                N/A
        Deputy Clerk                                               Court Reporter

  Attorneys Present for Plaintiffs:                        Attorneys Present for Defendants:

          Not Present                                               Not Present

PROCEEDINGS: ORDER DENYING MOTION FOR PRELIMINARY INJUNCTION
             [35] AND DISMISSING COMPLAINT [1] FOR LACK OF
             STANDING

       Before the court is Plaintiffs Mark McDonald and Jeff Barke’s (“Plaintiffs”) Motion for
Preliminary Injunction. (Dkt. 35 (“Motion” or “Mot.”).) Defendants Kristina D. Lawson, in
her official capacity as President of the Medical Board of California; Randy W. Hawkins, in his
official capacity as Vice President of the Medical Board of California; Laurie Rose Lubiano, in
her official capacity as Secretary of the Medical Board of California; Michelle Anne Bholat,
David E. Ryu, Ryan Brooks, James M. Healzer, Asif Mahmood, Nicole A. Jeong, Richard E.
Thorp, Veling Tsai, and Eserick Watkins, in their official capacities as members of the Medical
Board of California; and Robert Bonta, in his official capacity at Attorney General of California
(collectively, “Defendants”), oppose the Motion. (Dkt. 50 (“Opposition” or “Opp.”).) Plaintiffs
filed a reply brief. (Dkt. 55 (“Reply”).) Appearing as amici curiae, non-parties American Civil
Liberties Union of Northern California and American Civil Liberties Union of Southern
California (collectively, “Amici”) filed a brief in support of the Motion. (Dkt. 60-1 (“Amici
Brief”).)

     Based on the record, as applied to the applicable law, the court DENIES the Motion.
Because the court finds Plaintiffs lack standing, the court further DISMISSES WITH LEAVE
TO AMEND the Complaint (Dkt. 1 (“Compl.”)).

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Case No.: 8:22-cv-01805-FWS-ADS                                    Date: November 21, 2022
Title: Mark McDonald et al. v. Kristina D. Lawson et al.
I.     Relevant Background

       A.    Plaintiffs

       Plaintiffs Dr. Jeff Barke and Dr. Mark McDonald are doctors licensed to practice in
California. (Dkts. 36 (“McDonald Decl.) ¶ 2; 35-2 (“Barke Decl.”) ¶ 2.) Dr. Barke operates a
concierge medical practice in Newport Beach, California, while Dr. McDonald operates a
psychiatric practice in the Los Angeles area. (McDonald Decl. ¶ 2: Barke Decl. ¶ 2.) Aside
from an investigation pending against Dr. McDonald stemming from statements he made on
social media, which is discussed more fulsomely below, no medical regulatory authority has
disciplined, sustained a complaint for unprofessional conduct against, or suspended the license
of, either Plaintiff. (McDonald Decl. ¶ 20, Barke Decl. ¶ 14.)

       Plaintiffs disagreed with certain aspects of the “public health response to the COVID-19
pandemic,” and each describes himself as “outspoken” about the subject. (McDonald Decl. ¶ 7;
Barke Decl. ¶ 7.) In particular, Plaintiffs objected to California’s policies mandating the
isolation of children, as well as measures requiring children and adults to wear masks.
(McDonald Decl. ¶¶ 8-10; Barke Decl. ¶¶ 8-10.) Plaintiffs have also “raised concerns about the
new vaccines developed to combat COVID-19” and “supported the use of medications such as
ivermectin and hydroxychloroquine as options to treat COVID-19” based on opinions Plaintiffs
formed from their evaluations of available studies and evidence. (McDonald Decl. ¶¶ 11-12;
accord Barke Decl. ¶¶ 11-12.) Plaintiffs have “advocated publicly about these and other
objections to federal and state COVID-19 policies, including on social media, in various media
interviews, and in [their] own published writing.” (McDonald Decl. ¶ 13; accord Barke Decl.
¶ 13.)

      In December 2021, Dr. McDonald received notice that he was placed under investigation
by the Medical Board of California based on complaints filed in response to posts he made on
Facebook and Twitter regarding “posts on [the websites] about masks [that] were flagged for
spreading misinformation about Covid and using derogatory terms for disabled people” as well
as promoting ivermectin as a treatment for COVID-19. (See Dkt. 35-1; McDonald Decl. ¶ 15.)
Dr. McDonald maintains his recommendations and views regarding efficacious and safe
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treatments for COVID-19 are based on his review of the applicable empirical evidence, and
denies having offered “medical opinions that have included any inaccurate information
regarding the [] virus, the use of masks, or handicapped people.” (See Dkt. 35-1; McDonald
Decl. ¶ 16.)

       On October 4, 2022, Plaintiffs filed this action against California Attorney General
Robert Bonta and the members of California’s Medical Board named above in their official
capacities, seeking declaratory and injunctive relief. (Dkt. 1 (“Compl.”) ¶¶ 8-9.) Plaintiffs
contend AB 2098, 2021-2022 Reg. Sess. (Cal. 2022) (to be codified at Cal. Bus. & Prof. Code
§ 2270) (“AB 2098”) is unconstitutional for two reasons: (1) because AB 2098 constitutes
content and viewpoint-based discrimination on speech by the government in violation of the
First Amendment; and (2) because AB 2098 is void for vagueness under the Fourteenth
Amendment. (See id. ¶¶ 66-86.) The Motion seeks to enjoin AB 2098 before it becomes
effective on January 1, 2023.

      B.    AB 2098

       At the time AB 2098 was enacted, the legislature noted “[t]he global spread of the SARS-
CoV-2 coronavirus, or COVID-19, ha[d] claimed the lives of over 6,000,000 people worldwide,
including nearly 90,000 Californians.” AB 2098 § 1(a). The statute’s legislative findings state
that “[d]ata from the federal Centers for Disease Control and Prevention (CDC) shows that
unvaccinated individuals are at a risk of dying from COVID-19 that is 11 times greater than
those who are fully vaccinated,” id. § 1(b), and “[t]he safety and efficacy of COVID-19
vaccines have been confirmed through evaluation by the federal Food and Drug Administration
(FDA) and the vaccines continue to undergo intensive safety monitoring by the CDC,” id.
§ 1(c). The California Legislature also found that “[t]he spread of misinformation and
disinformation about COVID-19 vaccines has weakened public confidence and placed lives at
serious risk,” id. § 1(d), and “[m]ajor news outlets have reported that some of the most
dangerous propagators of inaccurate information regarding the COVID-19 vaccines are licensed
health care professionals,” id. § 1(e). The Legislature’s findings cite a statement by the
Federation of State Medical Boards “warning that physicians who engage in the dissemination
of COVID-19 vaccine misinformation or disinformation risk losing their medical license, and
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that physicians have a duty to provide their patients with accurate, science-based information.”
Id. § 1(f).

       Under AB 2098, “[i]t shall consitute unprofessional conduct for a physician and surgeon
to disseminate misinformation or disinformation related to COVID-19, including false or
misleading information regarding the nature and risks of the virus, its prevention and treatment;
and the development, safety, and effectiveness of COVID-19 vaccines.” Id. § 2(a). The
measure defines “[d]isinformation” as “misinformation that the licensee deliberately
disseminated with malicious intent or an intent to mislead,” id. § 2(b)(2), and
“[m]isinformation” as “false information that is contradicted by contemporary scientific
consensus contrary to the standard of care,” id. § 2(b)(4). “Disseminate means the conveyance
of information from the licensee to a patient under the licensee’s care in the form of treatment
or advice.” Id. § 2(b)(3). “Physician[s] and surgeon[s],” to which AB 2098 is applicable, are
“person[s] licensed by the Medical Board of California or the Osteopathic Medical Board of
California . . . .” Id. § 2(b)(5).

II.     Legal Standard

        A.    Preliminary Injunction

       “A preliminary injunction is an extraordinary remedy that may be awarded only if the
plaintiff clearly shows entitlement to such relief.” Am. Beverage Ass’n v. City & Cnty. of San
Francisco, 916 F.3d 749, 754 (9th Cir. 2019) (en banc) (citing Winter v. Nat. Res. Def. Council,
Inc., 555 U.S. 7, 22 (2008)). A plaintiff seeking a preliminary injunction must demonstrate
“‘[1] that he is likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in
the absence of preliminary relief, [3] that the balance of equities tips in his favor, and [4] that an
injunction is in the public interest.’” Id. (alterations in original) (quoting Winter, 555 U.S. at
20). “The first factor under Winter is the most important,” to the extent the court need not
consider the remaining three elements where the plaintiff fails to show a likelihood of success
on the merits. Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc). Courts in
the Ninth Circuit “also employ an alternative serious questions standard, also known as the
sliding scale variant of the Winter standard.” Fraihat v. U.S. Immigr. & Customs Enf’t, 16
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F.4th 613, 635 (9th Cir. 2021) (cleaned up). Under that formulation, “‘“serious questions going
to the merits” and a balance of hardships that tips sharply towards the plaintiffs can support
issuance of a preliminary injunction, so long as the plaintiffs also show that there is a likelihood
of irreparable injury and that the injunction is in the public interest.’” Id. (alterations and
internal quotation marks omitted) (quoting All. for the Wild Rockies v. Cottrell, 632 F.3d 1127,
1135 (9th Cir. 2011)).

III.     Discussion

         A.    Plaintiffs’ Standing

        Defendants argue Plaintiffs lack Article III standing because neither has alleged a
sufficiently imminent threat of enforcement to sustain a pre-enforcement claim nor otherwise
adequately pleaded an injury in fact. (Opp. at 7-9.) Defendants also argue that Plaintiffs lack
standing because they do not demonstrate their behavior on which Plaintiffs base their
challenge was previously permissible under California law but would be prohibited by AB
2908. (Id. at 8-9.) Plaintiffs assert the chilling effect of AB 2908 on their provision of medical
advice to their patients sufficiently establish standing because “Defendants would classify their
advice as a violation of the standard of care” on the presumption that Plaintiffs’ views regarding
evidentiarily supported treatment for COVID-19 would differ from those of California’s
Medical Board. (Reply at 4-5.) Plaintiffs further contend that AB 2908 would subject them to
potentially losing their licenses after a single act of advice, and that the purported vagueness of
the law prevents them from alleging the specificity of injury Defendants maintain is necessary.
(Id. at 5-7.)

       “[T]o establish standing, a plaintiff must show (i) that he suffered an injury in fact that is
concrete, particularized, and actual or imminent; (ii) that the injury was likely caused by the
defendant; and (iii) that the injury would likely be redressed by judicial relief.” TransUnion
LLC v. Ramirez, 141 S. Ct. 2190, 2203 (June 25, 2021) (citation omitted). “At the pleading
stage, general factual allegations of injury resulting from the defendant’s conduct may suffice.”
Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). “An allegation of future injury may
suffice if the threatened injury is ‘certainly impending,’ or there is a ‘“‘substantial risk’” that the
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harm will occur.’” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (quoting
Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013)).

        The court is mindful that “[c]onstitutional challenges based on the First Amendment
present unique standing considerations.” Ariz. Right to Life Pol. Action Comm. v. Bayless, 320
F.3d 1002, 1006 (9th Cir. 2003). As such, “the Supreme Court has endorsed what might be
called a ‘hold your tongue and challenge now’ approach rather than requiring litigants to speak
first and take their chances with the consequences.” Id. (citing Dombrowski v. Pfister, 380 U.S.
479, 486 (1965) & Bland v. Fessler, 88 F.3d 729, 736-37 (9th Cir. 1996)). However, a “chilling
of First Amendment rights can constitute a cognizable injury” only “so long as the chilling
effect is not based on a fear of future injury that itself is too speculative to confer standing.”
Index Newspapers LLC v. United States Marshals Serv., 977 F.3d 817, 826 (9th Cir. 2020)
(cleaned up).

       A plaintiff satisfies the injury-in-fact requirement required for pre-enforcement standing
where the plaintiff “alleges an intention to engage in a course of conduct arguably affected with
a constitutional interest, but proscribed by a statute, and there exists a credible threat of
prosecution thereunder.” Driehaus, 573 U.S. at 159 (citation and internal quotation marks
omitted). “Generalized threats of prosecution do not confer constitutional ripeness,” and “there
must be a genuine threat of imminent prosecution.” Unified Data Servs., LLC v. Fed. Trade
Comm’n, 39 F.4th 1200, 1210 (9th Cir. 2022) (cleaned up). To determine whether a plaintiff
faces a credible threat, courts in the Ninth Circuit “consider (1) whether the plaintiff has a
‘concrete plan’ to violate the law, (2) whether the enforcement authorities have ‘communicated
a specific warning or threat to initiate proceedings,’ and (3) whether there is a ‘history of past
prosecution or enforcement.’” Tingley v. Ferguson, 47 F.4th 1055, 1067 (9th Cir. 2022)
(quoting Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1139 (9th Cir. 2000) (en
banc)).

       On review of the materials submitted by Plaintiffs in connection with the Motion and the
Complaint’s allegations, as compared with the terms of AB 2098, the court finds Plaintiffs have
insufficiently demonstrated a “concrete plan” to violate that law.

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       AB 2098 provides that “[i]t shall consitute unprofessional conduct for a physician and
surgeon to disseminate misinformation or disinformation related to COVID-19, including false
or misleading information regarding the nature and risks of the virus, its prevention and
treatment; and the development, safety, and effectiveness of COVID-19 vaccines.” AB 2098
§ 2(a). AB 2098 applies to “person[s] licensed by the Medical Board of California,” such as
Plaintiffs. Id. § 2(b)(5). To violate the plain terms of AB 2098, then, the government would
need to show that Plaintiffs (1) “disseminated”; (2) one of the two types of “information”
penalized by the statute.

        These terms are defined by AB 2098. The first type of penalized information,
“misinformation,” is “false information that is contradicted by contemporary scientific
consensus contrary to the standard of care.” Id. § 2(b)(4). Pursuant to the plain meaning of AB
2098’s terms, misinformation is (1) demonstrably false; (2) contracticted by contemporary
scientific consensus; and (3) contradicted to the extent that its use in medical treatment or
advice violates the applicable standard of care. The second category, “disinformation,” includes
in its definition the requirements of “misinformation,” and, additionally, the elements that it is
(1) “deliberately disseminated” (2) “with malicious intent or an intent to mislead.” Id.
§ 2(b)(2). For its part, “[d]isseminate means the conveyance of information from the licensee to
a patient under the licensee’s care in the form of treatment or advice.” Id. § 2(b)(3).

       Plaintiffs have submitted they have, for example, “raised concerns about the new
vaccines developed to combat COVID-19,” (Barke Decl. ¶ 12; accord McDonald Decl. ¶ 12;
Compl. ¶¶ 40-41, 60-61); become “outspoken” about the “flaws [Plaintiffs] see in the public
health response to the COVID-19 pandemic,” (Barke Decl. ¶ 7; accord McDonald Decl. ¶ 7;
Compl. ¶¶ 36, 56); and “advocated publicly” about their “objections to federal and state
COVID-19 policies, including on social media, in various interviews, and in [Plaintiffs’] own
published writing,” (Barke Decl. ¶ 13; accord McDonald Decl ¶ 13; Compl. ¶¶ 43, 44). Based
on Plaintiffs’ review of the applicable medical literature, Plaintiffs state they have supported the
use of medications such as ivermectin and hydroxychloroquine as options to treat COVID-19,
objected to mask requirements for adults and children, opposed mandatory school closures, and
raised concerns about vaccinations developed to combat COVID-19. (Barke Decl. ¶¶ 9-12;
accord McDonald Decl ¶¶ 9-12; Compl. ¶¶ 38-41, 57-61.) Plaintiffs contend their views are
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based on their experience, evaluation of the applicable evidence (or the absence thereof), and
that neither has been subject to discipline from a medical regulatory authority as a result.
(Barke Decl. ¶¶ 8-12; accord McDonald Decl ¶¶ 8-12; Compl. ¶¶ 34-37, 54-57.) Otherwise,
Dr. McDonald submits that he was placed under investigation by the Medical Board of
California based on complaints filed in response to posts he made on social media websites
Twitter and Facebook regarding “posts on [the websites] about masks [that] were flagged for
spreading misinformation about Covid” and promoting ivermectin as a treatment for COVID-
19, but maintains his recommendations are based on his review of the applicable empirical
evidence, and denies having offered “medical opinions that have included any inaccurate
information.” (See Dkt. 35-1; McDonald Decl. ¶ 16; Compl. ¶¶ 45-50.)

       However, as Defendants note, Plaintiffs do not allege they intend to violate AB 2098 in
the future because Plaintiffs do not allege they “intend to give [advice] contrary to the standard
of care,” and do not “identify any specific treatment, care, or advice they currently wish to
provide to a patient that they believe will be prohibited under AB 2098.” (Opp. at 8 (emphasis
removed).) The court also agrees with Defendants that Plaintiffs’ allegations pertain to “the
public statements they have made” rather than advice they wish provide in a doctor-patient
relationship. (Opp. at 8 (emphasis removed).) Under the provisions of AB 2098 discussed
above, any violation of AB 2098 requires at a minimum, that Plaintiffs engage in the
“conveyance of information from [Plaintiffs] to a patient under [Plaintiffs’] care in the form of
treatment or advice,” and thus does not concern Plaintiffs’ public statements and dissention
regarding the suitability of COVID-19 treatments. Additionally, as set forth above, any
violation of AB 2098 requires Plaintiffs to provide information that is contracticted by
contemporary scientific consensus, but Plaintiffs assert their views have been formulated based
on the applicable scientific evidence and literature. (See, e.g., McDonald Decl. ¶¶ 11-12; Barke
Decl. ¶¶ 11-12.) To the extent Plaintiffs view AB 2098 as impermissibly vague, the court does
not find, at least for the purposes of these elements, that its terms prevent the court from
ascertaining whether Plaintiffs’ allegations are sufficiently within the realm of the potentially
prosecutable.

      Given the courts’ analysis above, the court finds that Plaintiffs have not “articulate[d] a
‘“concrete plan”’ to violate the law in question’ by giving details about their future speech such
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as ‘when, to whom, where, or under what circumstances.’”1 Lopez v. Candaele, 630 F.3d 775,
787 (9th Cir. 2010) (quoting Thompson, 220 F.3d at 1139). Stated differently, Plaintiffs’
allegations related to their past advocacy regarding certain treatments for COVID-19 and the
investigation of Dr. McDonald related to his activity on Twitter and Facebook are insufficiently
“specific enough so that [the] court need not ‘speculate as to the kinds of political activity the
[Plaintiffs] desire to engage in or as to the contents of their proposed [] statements or the
circumstances of their publication.’” Id. (quoting United Pub. Workers of Am. (C.I.O.) v.
Mitchell, 330 U.S. 75, 90 (1947)). “Without these kinds of details, a court is left with mere
some day intentions, which do not support a finding of the actual or imminent injury that our
cases require.” Unified Data Servs., 39 F.4th at 1211 (cleaned up).

       The second factor also favors finding Plaintiffs lack standing. Because California has not
“disavow[ed] enforcement” of AB 2098 entirely, the court may consider that reticence as
“evidence that [California] intends to enforce th[at] law.” Cal. Trucking Ass’n v. Bonta, 996
F.3d 644, 653 (9th Cir. 2021), cert. denied sub nom. California Trucking Ass’n, Inc. v. Bonta,
142 S. Ct. 2903 (2022). But here, the government has affirmatively argued that Plaintiffs’
allegations of past activity lacking specific allegations that they intend to engage in future
behavior that would violate AB 2908 are insufficient to constitute an actionable violation of the
law. (See, e.g., Opp. at 8 (“AB 2098 has no bearing on [Plaintiffs’] public statements” since it
does not involve providing advice or treatment to an individual patient in their care); id. at 8-9
(“Plaintiffs do not maintain, however, that whatever advice they intend to give contrary to the
standard of care—and their declarations are silent on precisely what advice that is—would be
given only one time or to only one patient such that they face a new liability under AB 2098.”).)
Under similar circumstances, the Ninth Circuit has held that “plaintiffs’ claims of future harm
lack credibility when the challenged speech restriction by its terms is not applicable to the
plaintiffs, or the enforcing authority has disavowed the applicability of the challenged law to the
plaintiffs.” Lopez, 630 F.3d at 788; see also Barke v. Banks, 25 F.4th 714, 719-20 (9th Cir.

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 Because the court ultimately does not reach the parties’ substantive arguments regarding
Plaintiffs’ constitutional claims, including whether AB 2908 regulates “speech” or “conduct,”
nothing in this Order should be construed as expressing a view on the merits of Plaintiffs’
constitutional claims.
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2022) (rejecting argument government would erroneously attribute statements to plaintiffs in a
manner subjecting them to liability under challenged statute because record and authorities at
issue did not demonstrate a credible threat of enforcement, where government conceded “much
of the speech” alleged by plaintiffs constituted “individual speech” to which the statute did not
apply). Given Defendants similarly state Plaintiffs’ allegations and declarations, as alleged and
submitted, do not support finding liability under AB 2098, the court finds this factor also
weighs against finding standing.

       Finally, because the record indicates AB 2098, as a statute that is not yet effective, has no
history of enforcement, the third factor weighs against finding Plaintiffs have standing.
However, the court acknowledges that “the history of enforcement carries little weight when the
challenged law is relatively new and the record contains little information as to enforcement.”
Tingley, 47 F.4th at 1069 (9th Cir. 2022) (citation and internal quotation and punctuation marks
omitted). Accordingly, “[t]he sparse enforcement history weighs against standing but ‘is not
dispositive.’” Id. (citations and internal quotation marks omitted).

       On occasion, courts will find standing “in a pre-enforcement challenge that alleges a free
speech violation under the First Amendment,” if the plaintiff “demonstrate[s] that a threat of
potential enforcement will cause him to self-censor, and not follow through with his concrete
plan to engage in protected conduct.” Protectmarriage.com-Yes on 8 v. Bowen, 752 F.3d 827,
839 (9th Cir. 2014) (emphasis added). Stated differently, “a well-founded fear of prosecution
will only inure if the plaintiff’s intended speech arguably falls within the statute’s reach.” See
Wolfson v. Brammer, 616 F.3d 1045, 1062 (9th Cir. 2010) (citations and internal quotation
marks omitted). For the reasons discussed above, the court finds Plaintiffs have insufficiently
demonstrated they have such a reasonable fear, at most demonstrating insufficient “some day”
allegations that they might eventually run afoul of AB 2908’s provisions. See also Lopez, 630
F.3d at 787 (“[W]here multiple plaintiffs challenged a California law that criminalized teaching
communism, the Supreme Court concluded that three of the plaintiffs, who had not alleged that
‘they have ever been threatened with prosecution, that a prosecution is likely, or even that a
prosecution is remotely possible,’ but merely that they felt ‘inhibited’ in advocating political
ideas or in teaching about communism, did not have standing.”) (citing Younger v. Harris, 401
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U.S. 37, 42 (1971)); cf. Bain v. California Tchrs. Ass’n, 891 F.3d 1206, 1214 (9th Cir. 2018)
(holding allegations employee could “conceivably return to her old job, without more, is
precisely the type of speculative ‘some day’ intention the Supreme Court has rejected as
insufficient to confer standing”) (citations omitted); Lujan, 504 U.S. at 564 (holding that the
professed intent to visit a country was insufficient to demonstrate Article III standing when
plaintiffs had not purchased a plane ticket or identified when they would visit).

       While Plaintiffs have alleged AB 2098 will “force[] [them] to choose between providing
[their] best medical judgment and censoring that judgment to comply with the law” based on
the their “fear that the [Medical] Board [of California] will use this new authority to threaten
[their] medical license[s],” (Barke Decl. ¶ 19; see McDonald Decl. ¶ 21), “[b]are allegations
that a plaintiff’s speech has been chilled by the challenged statute are insufficient to establish a
reasonable fear of prosecution,” Wolfson, 616 F.3d at 1062, and Defendants have avowed their
allegations of past conduct escape the clutches of AB 2098. At oral argument, Plaintiffs’
counsel expressed concern that pleading further specificity might provide California with a
“roadmap” to potentially prosecute Plaintiffs. But, under precedent binding on this court,
“[e]ven a ‘Hobson’s choice’ must be ‘particularized’ and ‘imminent.’” Unified Data Servs., 39
F.4th at 1211 (citing Clark v. City of Seattle, 899 F.3d 802, 813 (9th Cir. 2018)). Ultimately,
based on the record before the court, the court finds Plaintiffs lack Article III standing to bring a
pre-enforcement challenge to AB 2908.2 Because Plaintiffs’ lack of Article III standing
precludes a finding that they have raised serious questions going to the merits of their claims,
the court finds Plaintiffs have not demonstrated a sufficient likelihood of success on the merits
of their claims to warrant a preliminary injunction, and thus need not consider the remaining
Winter factors. See Garcia, 786 F.3d at 740. Accordingly, the court DENIES the Motion.

IV.    Disposition


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  Because the court does not reach the parties’ arguments on the merits of AB 2098, the court
DENIES AS MOOT Defendants’ Requests for Judicial Notice (Dkt. 50-3), all of which relate
to the AB 2098’s legislative history or historical California statutes regulating the medical field.
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                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No.: 8:22-cv-01805-FWS-ADS                                      Date: November 21, 2022
Title: Mark McDonald et al. v. Kristina D. Lawson et al.
       For the reasons set forth above, the court finds Plaintiffs lack Article III standing, and
accordingly DENIES the Motion. Because Plaintiffs lack standing, the court further
DISMISSES WITH LEAVE TO AMEND the Complaint (Dkt. 1). See Defend Our
Freedoms Found. v. Schumer, 2021 WL 840352, at *2 (C.D. Cal. Jan. 29, 2021); see also Fed.
R. Civ. P. 12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction,
the court must dismiss the action.”). If Plaintiffs wish to file an amended complaint, Plaintiffs
shall do so within thirty (30) days of this Order, or the court’s dismissal will operate as a
dismissal with prejudice without further notice.




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